      Case 3:19-cr-00083-M Document 43 Filed 05/02/19            Page 1 of 3 PageID 99


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 UNITED STATES OF AMERICA

 v.                                             No. 3:19-CR-083-S

 RUEL M. HAMILTON (01)
 CAROLYN RENA DAVIS (02)

                          AGREED MOTION TO TRANSFER

        The United States of America, by and through the undersigned Assistant United

States Attorney for the Northern District of Texas, moves for an order transferring this

case to the Honorable United States District Chief Judge Barbara M.G. Lynn, and in

support thereof, provides the following information:

        1.     The indictment in this case charges the defendant, Ruel M. Hamilton, with

two counts of bribery regarding programs receiving federal funds, 18 U.S.C. § 666. (Dkt.

1.) Count One alleges that Hamilton, from approximately November 2013 to June 2015,

paid bribes to then Dallas City Council Member Carolyn Rena Davis in connection with

business or transactions of the City of Dallas. (Dkt. 1 at 6.)

        2.     Davis previously pled guilty to conspiracy charges arising from her receipt

of bribe payments from Hamilton. (Dkt. 10.)

        3.     Count Two alleges that Hamilton, on or about August 3, 2018, offered to

pay a bribe to Council Person A whom the government has previously identified as

former Dallas City Council Member Dwaine Caraway. Caraway previously pled guilty

to bribery and tax charges before Chief Judge Barbara Lynn (No. 3:18-CR-00409-M),

and is expected to testify against Hamilton under the terms of his plea agreement in Judge

Lynn’s case.

Government’s Motion to Transfer—Page 1
   Case 3:19-cr-00083-M Document 43 Filed 05/02/19               Page 2 of 3 PageID 100


       4.     Recently, on April 5, 2019, Judge Lynn sentenced Caraway to a term of

imprisonment. Judge Lynn acknowledged that Caraway could be eligible for a

sentencing reduction based on his future testimony against Hamilton, but declined to take

that potential cooperation into consideration in fashioning his sentence at the time.

Accordingly, Caraway’s anticipated testimony in this case could be an important factor in

Judge Lynn’s decision regarding any future reduction in his sentence, and the parties

believe that her ability to view his testimony live best serves the interests of efficiency,

consistency, and fairness.

       5.     Accordingly, pursuant to Local Rule 57.3(b), the parties respectfully

request that this matter be transferred to Judge Lynn’s court.




                                           Respectfully submitted,

                                           ERIN NEALY COX
                                           United States Attorney

                                           /s/ Andrew Wirmani
                                           Andrew O. Wirmani
                                           Assistant United States Attorney
                                           Texas Bar No. 24052287
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                                           Dallas, Texas 75242
                                           Telephone: 214.659.8681
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 2 2019, I or co-counsel conferred with Abe Lowell,

counsel for defendant Hamilton, and Heath Harris, counsel for defendant Davis. Both

lawyers indicated that their clients agreed to this motion.

Government’s Motion to Transfer—Page 2
   Case 3:19-cr-00083-M Document 43 Filed 05/02/19            Page 3 of 3 PageID 101



                                          /s/ Andrew Wirmani
                                          Andrew O. Wirmani
                                          Assistant United States Attorney


                               CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2019, I electronically filed the foregoing document

with the Clerk of Court for the United States District Court, Northern District of Texas,

using the electronic case filing system of the Court. The electronic case filing system

sent a “Notice of Electronic Filing” to all attorneys who have consented in writing to

accept this Notice as service of this document.



                                          /s/ Andrew Wirmani
                                          Andrew O. Wirmani
                                          Assistant United States Attorney




Government’s Motion to Transfer—Page 3
